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                        No. 22-3283
    __________________________________________________

            UNITED STATES COURT OF APPEALS
                 FOR THE SIXTH CIRCUIT


                      SHH HOLDINGS, LLC,
                                             Plaintiff-Appellee,
                                    v.


    ALLIED WORLD SPECIALTY INSURANCE COMPANY,
                                             Defendant-Appellant.


           On Appeal from the United States District Court
          for the Northern District of Ohio, Eastern Division
                          No. 1:19-cv-02900


     PRINCIPAL BRIEF OF DEFENDANT-APPELLANT
   ALLIED WORLD SPECIALTY INSURANCE COMPANY


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                CORPORATE DISCLOSURE STATEMENT

     Pursuant to Federal Rule of Appellate Procedure 26.1(a) and Sixth Circuit Rule

26.1, Defendant-Appellant Allied World Specialty Insurance Company certifies that

it is 100% owned by AW Underwriters, Inc., which is 100% owned by Allied World

Insurance Company, which is 100% owned by Allied World Assurance Holdings

(U.S.) Inc., which is 100% owned by Allied World Assurance Holdings (Ireland)

Ltd., which is 100% owned by Allied World Assurance Company, Ltd., which is

100% owned by Allied World Assurance Company Holdings I, Ltd., which is 100%

owned by Allied World Assurance Company Holdings, Ltd., which is approximately

70% owned by 1102952 B.C. Unlimited Liability Company, a Canadian Company,

and approximately 20% owned by OCM Goldfish, Inc., a Canadian Company, and

various minority investors. 1102952 B.C. Unlimited Liability Company is 100%

owned by Fairfax Financial Holdings Limited, a Canadian company publicly traded

on the Toronto stock exchange.




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              STATEMENT REGARDING ORAL ARGUMENT

      Defendant-Appellant Allied World Specialty Insurance Company (“Allied

World”) respectfully requests oral argument pursuant to Federal Rule of Appellate

Procedure 34(a) and Sixth Circuit Rule 34(a) to address any questions unanswered

by the briefs and record, and to otherwise assist the Court with its decision-making

process in this insurance coverage action.




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                      JURISDICTIONAL STATEMENT

      The United States District Court for the Northern District of Ohio had subject-

matter jurisdiction over this matter under 28 U.S.C. § 1332. Plaintiff-Appellee SHH

Holdings, LLC (“SHH”) and Defendant-Appellant Allied World Specialty Insurance

Company (“Allied World”) are citizens of different states and the amount in

controversy exceeds $75,000, exclusive of interest and costs. (Complaint, RE 1,

Page ID # 2 ¶¶ 5–8; Answer, RE 8, Page ID # 4 ¶¶ 5–8).

      This Court has jurisdiction over this appeal under 28 U.S.C. § 1291. On

November 2, 2020, the District Court issued an Opinion & Order on the parties’

cross-motions for summary judgment, finding that the policy at issue provided

coverage for the claim and entering summary judgment for SHH on its breach of

contract and declaratory judgment counts, while finding in Allied World’s favor on

SHH’s bad faith count. (Opinion & Order, RE 46, Page ID # 1671–1685). On

December 16, 2020, the District Court issued an amended Opinion & Order, which

was identical to its prior ruling but clarified a footnote. (Opinion & Order, RE 48,

Page ID #1691–1705). The District Court directed the parties to confer and notify

the Court of any outstanding issues. (Docket Text, RE 48).

      On January 29, 2021, the parties filed a Notice of Outstanding Issues and

Request for Briefing and Hearing as directed. (Notice of Outstanding Issues, RE 49,

Page ID # 1706–1709). The parties identified four damages issues that were still


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outstanding and required the District Court’s consideration. (Id., Page ID # 1706–

1707). “[T]he Parties request[ed] that the Court set a briefing schedule and, if

necessary, a damages hearing so that the Parties may present these issues and the

Court may then enter a final order and judgment resolving all of the outstanding

issues in this case.” (Id., Page ID # 1707). The Court thereafter set a briefing

schedule for damage determination. (Docket Text, dated Feb. 2, 2021).

      On September 28, 2021, the District Court entered its Opinion & Order on

certain of the disputed damages issues, but did not determine the overall amount of

the award. (Opinion & Order, RE 54, Page ID # 1792–1801). On October 8, 2021,

following additional submissions by the parties, the District Court entered an

Opinion & Order fixing the amount of damages and awarding SHH its fees for

bringing the coverage action. (Opinion & Order, RE 56, Page ID # 1945).

      The Opinions & Orders being appealed did not become final within the

meaning of 28 U.S.C. § 1291 until the outstanding damages issues were finally

resolved by the District Court’s October 8, 2021 Opinion & Order. However, the

District Court never issued a separate final judgment as required under Fed. R. Civ.

P. 58(a). Because the District Court failed to set forth its judgment in a separate

document as required by Fed. R. Civ. P. 58(a), the judgment was not deemed entered

until 150 days after October 8, 2021. See Fed. R. Civ. P. 58(c); Fed. R. App. P.

4(a)(7)(A). That period expired on March 7, 2022. Allied World then had 30 days


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to file its notice of appeal, which would have expired on April 6, 2022. See Fed. R.

App. P. 4(a)(1)(A). On March 25, 2022, Allied World filed its notice of appeal with

the District Court. (Notice of Appeal, RE 57, Page ID # 1946–1948). Because

Allied World’s notice of appeal was filed within 30 days of judgment being deemed

entered, it is timely under Federal Rule of Appellate Procedure 4(a)(1)(A).

        STATEMENT OF THE ISSUES PRESENTED FOR REVIEW

      Issue No. 1:     Whether the exclusion in the insurance application SHH

submitted to Allied World for the subject insurance policy, which bars coverage for

prior or existing inquiries, investigations, claims, or lawsuits as well as such matters

arising therefrom, precludes all coverage under the policy for the Qui Tam action

brought against SHH, where, at the time the application was submitted, that Qui Tam

action was pending and SHH was aware of a civil investigative demand and

government investigation into the Qui Tam action’s allegations.

      Issue No. 2: Whether SHH is entitled under Ohio law to an award of its

attorneys’ fees incurred in connection with its coverage action against Allied World

as damages even though no exception to the American Rule is applicable.




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                           STATEMENT OF THE CASE

I.    Nature of the Case

      This action involves an insurance coverage dispute arising from a federal

Qui Tam action filed under seal in November 2016 against two of Plaintiff-Appellee

SHH Holdings, LLC’s subsidiaries—Saber Healthcare Holdings and Saber

Healthcare Group (collectively, “SHH”). The relators, three former employees,

alleged that SHH and its affiliates submitted false claims to the government for

unnecessary rehabilitation therapy at their nursing facilities and that SHH retaliated

against the relators when they voiced concern over SHH’s billing practices.

Although the Qui Tam action was initially filed under seal, the government issued a

civil investigation demand (CID) to SHH in January 2017, informing SHH that the

government was undertaking a False Claims Act investigation of SHH of the very

allegations of improper billing alleged in the Qui Tam action. In the months to come,

SHH responded to the government’s investigative demands for documents and

information, and worked with the government such that, by August 2019, it had

reached a settlement in principle regarding the improper billing practices. Thus, in

April 2019, when Saber applied for first-time coverage with Allied World, the Qui

Tam Action was pending, SHH was aware of the CID and the government’s

investigation, and SHH was aware that legal liability could follow therefrom. Yet,




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SHH failed to disclose the CID and the government’s investigation in its insurance

application, which required SHH to disclose such information.

      SHH seeks insurance coverage from Allied World for its settlement with the

relators of the retaliation component of the Qui Tam action and defense expenses

incurred in connection therewith. However, there is no coverage for such amounts.

The insurance application (which is incorporated into the policy) SHH submitted to

Allied World contains an express exclusion that bars coverage, inter alia, for

existing inquiries, investigations, claims, or lawsuits (whether disclosed or not), as

well as any such matters arising therefrom. This application exclusion precludes all

coverage under the policy for the loss SHH incurred in connection with the Qui Tam

action.

      The District Court failed to apply the exclusion as written and erroneously

held that the policy provided coverage for the Qui Tam losses at issue. In so doing,

the District Court failed to apply the plain language of the application questions and

exclusion and created coverage for a pre-existing dispute, which is inimical to the

concept of insurance generally and claims-made insurance in particular. The District

Court also erroneously determined that SHH was entitled to the fees it incurred in

prosecuting this coverage action, even though the limited exceptions to the American

Rule relied upon by SHH do not apply here, where the policy at issue does not




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include a duty to defend or otherwise provide for the shifting of fees incurred in this

coverage action.

II.   Statement of Facts

      A.     The Qui Tam Action

      On November 1, 2016, a False Claims Act lawsuit was filed under seal in the

U.S. District Court for the Eastern District of Virginia, captioned United States of

America, ex rel Hope Wright, et al. v. Saber Healthcare Holdings, LLC, et al., Case

No. 2:16-cv-640 (the “Qui Tam Action”). (Joint Stipulation of Facts (“JSF”), RE

39, Page ID # 1203, ¶ 1; Joint Exhibit (“JE”) 1, Qui Tam Compl., RE 44, Page ID #

1229–1333). The Qui Tam Action named as defendants Saber Healthcare Holdings,

LLC and Saber Healthcare Group, LLC (collectively with SHH Holdings, LLC,

“SHH”); Autumn Corporation (“Autumn”), a SHH subsidiary; and a number of

skilled nursing facilities, which were allegedly owned by or contracted with SHH to

provide rehabilitation therapy services. (JSF, RE 39, Page ID # 1203, ¶ 1). The Qui

Tam Action was brought by three co-relators: Hope Wright, a regional manager for

SHH; Laura Webb, a rehab director for SHH; and Deborah Edmonds, a director of

rehab operations for Autumn (the “Relators”). (Id.; JE 1, Qui Tam Compl., RE 44,

Page ID # 1238, ¶ 16, # 1239, ¶¶ 21 & 25).

      The Qui Tam Action generally alleged that defendants defrauded the

government through the submission of false and fraudulent claims related to


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payment for therapy services in skilled nursing facilities to Medicare and other

federal health care programs for therapy services that were unreasonable or

unnecessary. (JSF, RE 39, Page ID # 1203, ¶ 1). According to the Qui Tam

Complaint, defendants provided therapy services to patients that were unrelated to

their individual medical needs, but rather scheduled for the purpose of obtaining the

highest levels of Medicare reimbursement allowed. (Id.). Defendants’ alleged

scheme purportedly dated back to at least 2011 and caused the government over

$171.5 million in damages. (JE 1, Qui Tam Compl., RE 44, Page ID # 1233, ¶¶ 3–

4). As to the Relators, the Qui Tam Complaint alleged that Wright experienced a

reduction in force from her position, that Webb was constructively discharged, and

that Edmonds was terminated, all in retaliation for non-compliance with company

policies harmful to patients. (JSF, RE 39, Page ID # 1203–1204, ¶ 1).

      The Qui Tam Complaint asserted four counts for violations of the False

Claims Act (“FCA”). (JSF, RE 39, Page ID # 1204, ¶ 1). Counts 1–3 were asserted

against all defendants arising from their claims submission practices (the “FCA

Counts”). (Id.). Count 4 was asserted against SHH only and alleged that the Relators

were retaliated against for engaging in protected activities (i.e., reporting SHH’s

FCA violations) in violation of the FCA’s anti-retaliation provision (the “Retaliation

Count”). (Id.). As required by the FCA, the Qui Tam Complaint was filed under

seal and the Relators submitted a pre-filing disclosure statement to the U.S.


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Government containing evidence and information in their possession pertaining to

the allegations pled against SHH and the other defendants. (JE 1, Qui Tam Compl.,

RE 44, Page ID # 1229, 1237, ¶¶ 13–14). This all preceded SHH’s submission of

its application for insurance.

      B.     The Civil Investigative Demand and DOJ Investigation

      A little over two months after the filing of the Qui Tam Action, still before

SHH’s submission of its application for insurance, the U.S. Department of Justice

(the “DOJ”) took action. On or about January 20, 2017, SHH received a Civil

Investigative Demand (“CID”) from the DOJ. (JSF, RE 39, Page ID # 1204, ¶ 2; JE

2, CID, RE 44, Page ID # 1335–1361). The CID stated that it was being issued “in

the course of a False Claims Act investigation to determine whether there is or has

been a violation of 31 U.S.C. § 3729” (the “DOJ Investigation”), concerning

allegations that SHH and/or its affiliates “caused the submission of false claims for

rehabilitation therapy that was not medically reasonable or necessary, not skilled, or

not actually provided.” (JSF, RE 39, Page ID # 1204, ¶ 2). The CID required SHH

to respond to 15 document requests and to answer 15 interrogatories. (Id.). Among

other things requested were documents and information concerning terminations of

former employees during the relevant time period, including the Relators. (Id.; JE

3, SHH’s Discovery Responses, Resp. to RFAs 2–5, RE 44, Page ID # 1382–1385).




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      In the months following, SHH made rolling productions and provided

responses to interrogatories, with SHH issuing its final responses to the CID on

July 17, 2017, which were sworn to and verified by eight SHH officers, including

three Vice Presidents, the General Counsel, the COO, and the CFO. (JSF, RE 39,

Page ID # 1204, ¶ 3; JE 4, SHH’s Responses to CID, RE 44, Page ID # 1391–1412).

As such, the CID and DOJ Investigation was known throughout the highest echelons

of SHH. Further, as early as May 2018, still before SHH’s submission of its

application for insurance, SHH financials (dated May 30, 2018) reveal that it was

aware the CID could lead to liability:

      In January 2017, the Company received a Civil Investigative Demand
      (the “CID”) from the United States Department of Justice (the “DOJ”)
      regarding an investigation to determine whether there is or has been a
      violation of the False Claims Act, 31 U.S.C. §3729, for the submission
      of false claims for rehabilitation therapy that was not medically
      reasonable or necessary, not skilled, or not actually provided. The CID
      requires the Company to provide documents and answers to the
      interrogatories of the DOJ. The Company is in the process of providing
      the requested documents and answers to the DOJ’s interrogatories.
      Although Company management believes an accrual for any potential
      liability in its combined financial statements is not necessary, the
      ultimate liability may be in excess of management’s estimate. These
      estimates are subject to potential revisions and those revisions may be
      material.

(JE 6, SHH’s Financial Statements, RE 44, Page ID # 1458, § 13 (emphasis added)).

After responding to the CID, by August 2019, SHH had reached a settlement in

principle with the government regarding the improper billing practices component

of the Qui Tam Action, for which SHH would eventually pay $10 million to settle
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(discussed infra). (JSF, RE 39, Page ID # 1205, ¶¶ 9–10 & 18). The Retaliation

Count was not resolved by that settlement.

      C.    SHH’s Application for Insurance to Allied World

      In connection with applying for first-time coverage with Allied World and

procurement of the Policy, SHH submitted to Allied World a new business

application (the “Application”) dated April 15, 2019. (JSF, RE 39, Page ID # 1204

at ¶ 4; JE 5, App., RE 44, Page ID # 1414–1428).1 Pursuant to the Application, SHH

requested Directors & Officers Liability (D&O), Employment Practices Liability

(EPL), and Fiduciary Liability (FL) Coverage with a shared $3 million limit of

liability. (JSF, RE 39, Page ID # 1204 at ¶ 4; JE 5, App., RE 44, Page ID # 1414).

SHH is a sophisticated purchaser of insurance, and during the application process,

SHH was represented by experienced retail and wholesale insurance brokers. (JSF,

RE 39, Page ID # 1204, ¶ 7).

      The Application contains a Claims Information section. (JE 5, App., RE 44,

Page ID # 1415–1416). Question No. 1 of that section asked the following:

      On a separate attachment, please provide full details of all inquiries,
      investigations, administrative charges, claims and lawsuits filed within
      the last three (3) years against the Applicant, any Subsidiary, any
      Executive or other entity proposed for any coverage for which the
      Applicant is applying. If claims have been filed, please attach complete
      details regarding those matters including current status of claim and
      ultimate resolution of claim if applicable.

1
 The Application SHH submitted to Allied World was on an application form for
Hiscox, not Allied World’s own application form, though Allied World accepted it.

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(Id., Page ID # 1415). SHH checked “none” in response to Question No. 1. (Id.).

      Question No. 2 of the Claims Information section asked the following:

      Does the Applicant, any Subsidiary, any Executive or other entity
      proposed for coverage know of any act, error or omission which could
      give rise to a claim, suit or action under any coverage part of the
      proposed policy?

(Id., Page ID # 1416). SHH checked “no” in response to Question No. 2. (Id.).

      However, it is undisputed that, as of the date of the Application (April 15,

2019):

       SHH was aware of the CID and DOJ Investigation and had been aware of

         them since January 2017, (JSF, RE 39, Page ID # 1204, ¶ 6);

       SHH was aware that the CID and DOJ Investigation could result in

         material losses, (JE 6, SHH’s Financial Statements, RE 44, Page ID #

         1458, § 13);

       SHH had been working with the government on an on-going basis

         regarding the improper billing practices and, within four months of

         submitting the Application, reached a settlement in principle concerning

         those practices, (JSF, RE 39, Page ID # 1205, ¶¶ 9–10); and that

       the Qui Tam Action was pending, under seal, in the Eastern District of

         Virginia, (JE 1, Qui Tam Compl., RE 44, Page ID # 1229).




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Based on the foregoing, the CID and DOJ Investigation as well as the Qui Tam

Action itself were responsive to Questions Nos. 1 and 2 of the Claims Information

Section (the “Application Questions”).

      The Claims Information section concludes by providing the following

exclusionary language that is at the heart of this coverage action:

      It is agreed that with respect to questions 1 through 3 of the claims
      Information section of this Application, if such inquiry(ies),
      investigation(s), administrative charge(s), claim(s), lawsuit(s),
      information or involvement exists, then such inquiry(ies),
      investigation(s), administrative charge(s), claim(s), lawsuit(s) and any
      inquiry, investigation, administrative charge, claim or lawsuit arising
      therefrom or arising from such violation, knowledge, information or
      involvement is excluded from the proposed coverage.

(JE 5, App., RE 39, Page ID # 1416 (the aforementioned “Application Exclusion”)).

Additionally, the Application itself highlights that the Application Exclusion applies

whether or not SHH actually disclosed information responsive to the Application

Questions:

      [T]he Applicant understands and agrees that if any fact, circumstance
      or situation exists, whether or not disclosed in this application, any
      claim or action arising from any such fact, circumstance or situation
      may be excluded from coverage under the proposed policy, if issued by
      the insurer.

(Id., Page ID # 1424 (emphasis added)). The Application Exclusion applies because

the Qui Tam Action existed at the time the Application was submitted and further

because, once unsealed, it arises from the CID and DOJ Investigation, which also

pre-date SHH’s submission of the Application.
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         D.    The Allied World Policy

         Allied World issued Forcefield Healthcare Organizations Management

Liability Package Policy No. 0311-8013 (the “Policy”), to SHH for the claims-made

Policy Period effective April 17, 2019 to April 17, 2020. (JSF, RE 39, Page ID #

1204 at ¶ 8; JE 7, Policy, RE 44, Page ID # 1490–1586).2 The Policy was new; it

was not a renewal of a prior Allied World policy. (JE 7, Policy, Re 44, Page ID #

1495). The Policy specifies in a number of places that the Application3 is “deemed

to be attached to, incorporated into, and made a part of this Policy.” (Id., Page ID #

1536, 1545, 1563, 1575).

         As requested by SHH, the Policy includes EPL, D&O, and FL Coverage

Sections. (JE 7, Policy, Re 44, Page ID # 1496). First, relevant here, Insuring

Agreement A of the EPL Coverage Section provides Employment Practices Liability

Coverage as follows:

         The Insurer shall pay on behalf of any Insured the Loss arising from
         a Claim, first made during the Policy Period . . . against such Insured
         for any Wrongful Act, and reported to the Insurer in accordance with
         Section V. of the General Terms and Conditions and Section IV. of this
         Coverage Section.


2
    Capitalized and bold terms are defined in the Policy.
3
   The Policy defines “Application” to mean “all applications, including any
attachments and other materials provided therewith or incorporated therein,
submitted in connection with the underwriting of this Policy or for any other policy
of which this Policy is a renewal, replacement or which it succeeds in time.” (JE 7,
Policy, RE 44, Page ID # 1536, § II.A.).

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(Id., Page ID # 1563, § I.A.). The EPL Coverage Section defines a Wrongful Act to

include any actual or alleged Retaliation or Wrongful Employment Decision. (Id.,

Page ID # 1569, § II.V.).

      Second, the D&O Coverage Section contains eleven Insuring Agreements

((A)–(K)).    Relevant here, Insuring Agreement E provides Regulatory Claims

Coverage as follows:

      The Insurer shall pay on behalf of the Insureds, subject to the Sublimit
      of Liability set forth in Item 4.F. of the Declarations, the Loss arising
      from a Claim, first made during the Policy Period . . . against the
      Insureds for a Regulatory Wrongful Act, and reported to the Insurer
      in accordance with Section V. of the General Terms and Conditions.

(JE 7, Policy, Re 44, Page ID # 1546, § I.E.). The D&O Coverage Section defines

a Regulatory Wrongful Act to include any actual or alleged “act, error, omission,

misstatement, misconduct, fraud, reckless disregard or negligence committed by an

Insured in the performance of, or failure to perform, any of the following activities

in the Medicaid, Medicare, Federal Employee Health Benefit or TriCare Programs:

(a) procedure coding; (b) bill, claim, cost report or data submissions; or (c) the

calculation of managed care payments.” (Id., Page ID # 1554–1555, § II.W.(1)).

The false billing allegations addressed by the CID and DOJ Investigation, as well as

set forth in the Qui Tam Complaint, fall within the foregoing definition of a

Regulatory Wrongful Act.




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      Both the EPL and D&O Coverage Sections define an Insured to include the

Company, (JE 7, Policy, Re 44, Page ID # 1566, § II.K., # 1552, § II.M.), which, in

turn, includes the Named Insured (i.e., SHH) and any Subsidiary of the Named

Insured (i.e., Saber Healthcare Holdings and Saber Healthcare Group), (id., Page ID

# 1536, § II.B.). Further, both Coverage Sections define a Claim to include any

“judicial, administrative or regulatory proceeding, whether civil or criminal, for

monetary, non-monetary or injunctive relief commenced against an Insured . . . ,

which is commenced by . . . service of a complaint or similar pleading; [or] . . .

receipt or filing of a notice of charges.” (Id., Page ID # 1563–1564, § II.B.(2), #

1548, § II.C.(2)). In addition, the D&O Coverage Section’s definition of a Claim

also includes any “formal administrative or regulatory investigation of an Insured,

which is commenced by the filing or issuance of a notice of charges, formal

investigative order or similar document identifying an Insured as a person or entity

against whom a proceeding identified in paragraphs (2) or (3) above may be

commenced.” (Id., Page ID # 1548–1549 § II.C.(5) (paragraph (2) identifies a

“judicial, administrative or regulatory proceeding” and paragraph 3 identifies an

“arbitration or mediation proceeding”)). The Policy provides that “[a] Claim shall

be deemed first made when any Insured first receives notice of the Claim.” (Id.,

Page ID # 1564, § II.B., # 1549, § II.C.). The CID and DOJ Investigation constitute

a Claim as defined in the Policy’s D&O Coverage Section because it involved a


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regulatory investigation by the DOJ of SHH that was commenced by the CID, which

identified SHH as an entity against whom an FCA action might be brought.

      The EPL and D&O Coverage Sections have a $3 million shared limit of

liability and in the aggregate, and a $250,000 sublimit applies to Regulatory Claims

Coverage under the D&O Coverage Section. (JE 7, Policy, RE 44, Page ID # 1496,

Item 4.A.–B.) The EPL Coverage Section has a $200,000 Retention, which applies

to each and every EPL Claim. (Id.). It is the Insured’s—not Allied World’s—duty

to defend any Claims under the EPL Coverage Section, (id., Page ID # 1512), and

Defense Costs are part of the limits of liability, (id., Page ID # 1538, § III.F.).

      E.     SHH’s Settlements with the Government and Relators

      In August 2019, the Qui Tam Action was partially unsealed and SHH received

a copy of the Qui Tam Complaint. (JSF, RE 39, Page ID # 1205, ¶ 9). However, as

noted above, prior to that time, SHH had been working with the government on an

on-going basis and had reached a settlement in principle regarding SHH’s billing

practices. (Id., Page ID # 1205, ¶ 10). On September 11, 2019, SHH provided notice

to Allied World of the Qui Tam Action, seeking coverage under the Policy’s EPL

Coverage Section for the retaliation component of that Action. (Id., Page ID # 1205,

¶¶ 11–12). Allied World denied coverage based on the Application Exclusion. (Id.,

Page ID # 1205, ¶¶ 13 & 16; JE 9, Oct. 10, 2019 Coverage Ltr., RE 44, Page ID #

1591–1600; JE 12, Nov. 13, 2019 Coverage Ltr., RE 44, Page ID # 1617–1620).


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         On March 30, 2020, SHH and the Relators reached a $2.2 million settlement

related to the Relators’ Retaliation Count in the Qui Tam Action. (JSF, RE 39, Page

ID # 1205, ¶ 17). Concurrently, SHH, the Relators, and the government entered into

a separate agreement settling the FCA Counts for $10 million. (Id., Page ID # 1205,

¶ 18).

III.     Procedural History

         After Allied World denied coverage for the Qui Tam Action, SHH

commenced this coverage action on December 16, 2019. (Compl., RE 1, Page ID #

1–8). SHH’s Complaint contained three counts: Count I for breach of contract,

Count II for declaratory judgment, and Count III for breach of the duty of good faith

and fair dealing. (Id., Page ID # 5–7). The allegations in the Complaint were limited

to coverage for the Qui Tam Action’s Retaliation Count under the Policy’s EPL

Coverage Section. (Id., Page ID # 2, ¶ 3, # 4, ¶ 19, # 5, ¶ 24). As damages, SHH

sought to recover the $2.2 million settlement with the Relators, legal fees it incurred

in connection with defending and settling the retaliation allegations, as well as fees

it incurred in bringing this coverage action. (Id., Page ID # 5–6, ¶ 30, # 7).

         In August 2020, the parties filed cross motions for summary judgment, with

both parties seeking summary judgment on the breach of contract and declaratory

judgment counts, and Allied World also seeking summary judgment on the bad faith

count. (AW’s MSJ, RE 20, Page ID # 102–103; SHH’s MSJ, RE 21, Page ID # 496–


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497). In connection with the District Court’s consideration of the cross-motions, the

parties agreed to submit joint stipulated facts and exhibits. (JSF, RE 39, Page ID #

1203–1206; JE, RE 44, Page ID # 1225–1669). On November 2, 2020, the District

Court issued its Opinion & Order on the parties’ cross-motions, granting summary

judgment to SHH on its breach of contract and declaratory judgment counts, and to

Allied World on the bad faith count. (Opinion & Order, RE 46, Page ID # 1671–

1685). Following an unopposed motion for clarification, the District Court issued

an amended summary judgment Opinion & Order on December 16, 2020. (Opinion

& Order, RE 48, Page ID # 1691–1705).

      The parties then briefed the issue of damages. (SHH’s Br., RE 50, Page ID #

1710–1720; AW’s Resp., Page ID # 1721–1772; SHH’s Reply, Page ID # 1773–

1783). On September 28, 2021, the District Court entered its Opinion & Order on

the disputed damages issues. (Opinion & Order, RE 54, Page ID # 1792–1801). The

District Court awarded SHH $2 million in damages (representing the settlement

minus the Policy’s $200,000 Retention); $55,226.54 in defense costs incurred by

SHH in defending against the retaliation allegations; $60,077.37 in pre-judgment

interest; and post-judgment interest at the federal statutory rate. (Id., Page ID #

1800). The District Court also determined that SHH was entitled to an award of its

attorneys’ fees for bringing this coverage action and, following SHH’s submission

of invoices, awarded SHH $221,482.44 in fees on October 8, 2021. (Opinion &


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Order, RE 56, Page Id # 1945). Thus, the District Court awarded a total of

$2,336,786.35 to SHH.

IV.   Rulings on Appeal

      Allied World appeals both the District Court’s summary judgment orders as

well as its damages orders.     First, Allied World appeals the District Court’s

November 2, 2020 Opinion & Order (RE 46, Page ID # 1671–1685) and December

16, 2020 amended Opinion & Order (RE 48, Page ID # 1691–1705), which granted

summary judgment to SHH on its claims for breach of contract and declaratory

judgment.    The District Court concluded that the Application Exclusion was

ambiguous and did not preclude coverage for the retaliation component of the Qui

Tam Action. The District Court’s finding of coverage was error in light of the plain

language of the Policy’s Application.

      Second, Allied World appeals the District Court’s September 28, 2021

Opinion & Order (RE 54, Page ID # 1792–1801) and October 8, 2021 Opinion &

Order (RE 56, Page Id # 1945), which found, contrary to the American Rule, that

SHH was entitled to an award of its attorneys’ fees for prosecuting this coverage

action against Allied World. The cases relied upon by the District Court involved

narrow exceptions to the American Rule not applicable here. Those cases are

distinguishable and the District Court’s determination to award SHH its coverage

action fees was error.


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                      SUMMARY OF THE ARGUMENT

      The District Court improperly held that the Policy affords coverage for the

retaliation component of the Qui Tam Action, including SHH’s $2.2 million

settlement with the Relators, and that SHH was entitled to an award of its attorneys’

fees for bringing the instant coverage action. In doing so, the District Court

misapplied the plain language of the Application Questions and Exclusion, which

serve to preclude coverage for existing inquiries, investigations, administrative

charges, claims, and lawsuits, as well as such matters arising therefrom. Here, when

SHH applied for first-time coverage with Allied World, the Qui Tam Action had

been pending for two years, and SHH was not only well aware of the CID and DOJ

Investigation, but also that liability could follow therefrom. The existence of these

matters when SHH submitted the Application for the Policy to Allied World is fatal

to SHH’s claim for coverage under the Policy.

      The District Court couched its coverage determination as choosing between

two reasonable interpretations of the Application Questions and Exclusion. But

SHH’s interpretation, which the District Court adopted, is premised on an

unreasonable reading of the Application Questions. According to the District Court,

it was reasonable for SHH to contend that the CID and DOJ Investigation were not

responsive to the Questions because SHH was applying for EPL coverage and SHH

did not understand that such coverage would apply to allegations of improper billing


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practices or that a claim covered by the Policy would arise from the CID and DOJ

Investigation.

      Question No. 1 did not limit its scope to inquiries, investigations,

administrative charges, claims, and lawsuits that the applicant believed could trigger

particular coverage sections. If Question No. 1 was intended to be so limited, it

would have been worded like Question No. 2, which specifically asks for

identification of any act, error, or omission which could trigger a claim, suit, or

action under the proposed policy’s coverage sections. Rather, Question No. 1 is

clearly and objectively broad in scope, and encompasses prior or existing matters

regardless of the applicant’s subjective understanding of potential coverage for those

matters. The CID and DOJ Investigation fall squarely within the scope of Question

No. 1, which addresses matters initiated against the insureds proposed for coverage

within the three years prior to policy issuance. The Qui Tam Action, too, falls within

those parameters, regardless of whether it was under seal. (The exclusionary

language in the Application for pre-existing disputes applies to matters inquired into

in Question No. 1 regardless of whether the pending proceeding is disclosed in the

Application.)

      Similarly, the CID and DOJ Investigation, of which SHH admittedly was

aware, also fall with the scope of Question No. 2 because they put SHH on notice of

a wrongful act that could give rise to a claim under any coverage section of the Policy


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(i.e., the D&O Coverage Section). In fact, by the time SHH applied for coverage

with Allied World, it had been working with the government for over two years in

connection with the false billing allegations and, shortly thereafter, reached a

settlement in principle. Thus, because the unsealed Qui Tam Action arises from the

CID and DOJ Investigation, and also because it existed when the Application was

submitted, the Application Exclusion applies here.

      Additionally, the District Court erred in determining that SHH was entitled to

an award of its attorneys’ fees incurred in prosecuting this coverage action. The case

law recognizes a limited exception in the duty-to-defend and indemnity agreement

contexts, neither of which is present here. Therefore, the usual American Rule

should apply.

      This Court therefore should reverse the District Court’s summary judgment in

favor of SHH as well as its ruling awarding SHH its coverage action fees.




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                                    ARGUMENT

I.    The District Court’s Erroneous Determination that Coverage Exists for
      the Qui Tam Action

      A.       Standard of Review

      The District Court’s grant of summary judgment is subject to de novo review,

using the same standard under Rule 56(a) used by the District Court. See Surles v.

Andison, 678 F.3d 452, 455 (6th Cir. 2012).

      Under Ohio law, insurance policies are contracts, the proper interpretation of

which is a question of law for the court. Allstate Ins. Co. v. Eyster, 939 N.E.2d 1274,

1280 (Ohio Ct. App. 2010). “Contract terms are to be given their plain and ordinary

meaning, and [w]hen the contract is clear and unambiguous, the court may look no

further than the four corners of the insurance policy to find the intent of the parties.”

Id. “As a matter of law, a contract is unambiguous if it can be given a definite legal

meaning.” Retail Ventures, Inc. v. Nat’l Union Fire Ins. Co., 691 F.3d 821, 826 (6th

Cir. 2012).

      “Ambiguity exists only when a provision at issue is susceptible of more than

one reasonable interpretation.” Lager v. Miller-Gonzalez, 896 N.E.2d 666, 669

(Ohio 2008). However, an “[a]mbiguity does not arise merely because the parties

interpret contractual provisions differently.” JNJ Logistics, L.L.C. v. Scottsdale Ins.

Co., 617 F. App’x 464, 468 (6th Cir. 2015). “[I]t is equally well settled that a court

cannot create ambiguity in a contract where there is none.” Lager, 896 N.E.2d at

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669.   Accordingly, “[w]hen the terms of an insurance policy are clear and

unambiguous, Ohio law requires a court to apply [them] to the facts without

engaging in any construction.” Toledo-Lucas Cnty. Port Auth. v. Axa Marine &

Aviation Ins., 368 F.3d 524, 530 (6th Cir. 2004); accord McCarty v. Nat’l Union

Fire Ins. Co., 699 F. App’x 464, 467 (6th Cir. 2017) (“Where [the] terms are

unambiguous, courts are not free to expand the contractual rights or obligations

beyond that originally contemplated by the parties.”).

       “In the insurance context, the insurer customarily drafts the contract. Thus,

an ambiguity in an insurance contract is ordinarily interpreted against the insurer and

in favor of the insured.” Westfield Ins. Co. v. Galatis, 797 N.E.2d 1256, 1262 (Ohio

2003). However, that rule of construction only comes into play if the language is

ambiguous, and “will not be applied so as to provide an unreasonable interpretation

of the words of the policy.” Id. Moreover, the rule of contra proferentem does not

necessarily apply to a “sophisticated entit[y] represented by experienced brokers, all

capable of bargaining with specificity and experience.” Cincinnati Gas & Elec. Co.

v. Hartford Steam Boiler Inspection & Ins. Co., No. 1:06-CV-00331, 2008 U.S. Dist.

LEXIS 29569, at *19–21 (S.D. Ohio Apr. 9, 2008); accord Yellowbook Inc. v.

Brandeberry, 708 F.3d 837, 847 (6th Cir. 2013) (recognizing that “the ‘contra

proferentem’ canon is meant primarily for cases where the written contract is

standardized and between parties of unequal bargaining power”); Westfield Ins. Co.,


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797 N.E.2d at 1262 (same). Here, the Application was submitted on a form of SHH’s

choosing, not Allied World’s form, and SHH is a sophisticated entity that was

represented by sophisticated brokers during the negotiation of the Policy.

      B.     The Application Exclusion Bars All Coverage for the Qui Tam
             Action and the District Court Erred in Holding Otherwise

      The Application Exclusion precludes all coverage under the Policy for the Qui

Tam Action (including its Retaliation Count) because the Qui Tam Action not only

arises from the CID and DOJ Investigation of which SHH undisputedly was aware

at the time it submitted the Application to Allied World, but also because it is

undisputed that the Qui Tam Action had been filed and pending for two and a-half

years by the time the Application was submitted.

             1.    The CID and DOJ Investigation Was Responsive to the
                   Application Questions

      The Application SHH submitted to Allied World in connection with the Policy

contained two questions relevant here concerning recent and existing matters filed

against the Applicant and matters that might give rise to a future claim against the

Applicant under the Policy. Question No. 1 of the Claims Information section asked:

      On a separate attachment, please provide full details of all inquiries,
      investigations, administrative charges, claims and lawsuits filed within
      the last three (3) years against the Applicant, any Subsidiary, any
      Executive or other entity proposed for any coverage for which the
      Applicant is applying. If claims have been filed, please attach complete
      details regarding those matters including current status of claim and
      ultimate resolution of claim if applicable.


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(JE 5, App., RE 44, Page ID # 1415). In response, SHH indicated there were “none.”

(Id.).

         Questions No. 1 addresses inquiries, investigations, claims, and lawsuits filed

within the 3 years prior to the Application against SHH or any other entity applying

for coverage under the proposed policy. As of the date of the Application (April

15, 2019), SHH was aware of the CID and DOJ Investigation and had been aware of

them since January 20, 2017. (JSF, RE 39, Page ID # 1204, ¶ 2). Having been

served with the CID and informed of the DOJ Investigation in January 2017, the

CID and DOJ Investigation fell within the 3-year period covered by Question No. 1.

Further, the CID and DOJ Investigation constitute an inquiry (the CID included

interrogatories and document requests), an investigation (the CID expressly stated it

was issued “in the course of a False Claims Act investigation”), and/or a claim (the

D&O Coverage Section’s definition of Claim includes a “formal administrative or

regulatory investigation of an Insured”) against the Applicant, i.e., SHH. Thus, the

CID and DOJ Investigation fell squarely within the scope of Question No. 1.

         Additionally, Question No. 2 of the Claims Information section asked:

         Does the Applicant, any Subsidiary, any Executive or other entity
         proposed for coverage know of any act, error or omission which could
         give rise to a claim, suit or action under any coverage part of the
         proposed policy?

(JE 5, App., RE 44, Page ID # 1416). In response, SHH checked “no.” (Id.).



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      At the time SHH submitted the Application, it had knowledge “of any act,

error or omission which could give rise to a claim, suit or action under any coverage

part of the proposed policy.” The CID provided SHH with knowledge of an act,

error, or omission which could give rise to a claim, suit, or action as it expressly

informed SHH that the DOJ was conducting a “a False Claims Act investigation to

determine whether there is or has been a violation of 31 U.S.C. § 3729.” (JSF, RE

39, Page ID # 1204, ¶ 2). The CID further provided that the DOJ was investigating

“allegations that [SHH] . . . caused the submission of false claims for rehabilitation

therapy . . . .” (Id.). Although SHH responded to the CID in July 2017, SHH

continued to work with the government during the period leading up to submission

of the Application (and after). (JSF, RE 39, Page ID # 1205, ¶¶ 9–10).

      SHH’s financials during this period (dated May 30, 2018) addressed the CID

and reveal that SHH was aware the CID could lead to liability.

      In January 2017, the Company received a Civil Investigative Demand
      (the “CID”) from the United States Department of Justice (the “DOJ”)
      regarding an investigation to determine whether there is or has been a
      violation of the False Claims Act, 31 U.S.C. §3729, for the submission
      of false claims for rehabilitation therapy that was not medically
      reasonable or necessary, not skilled, or not actually provided. The CID
      requires the Company to provide documents and answers to the
      interrogatories of the DOJ. The Company is in the process of providing
      the requested documents and answers to the DOJ’s interrogatories.
      Although Company management believes an accrual for any potential
      liability in its combined financial statements is not necessary, the
      ultimate liability may be in excess of management’s estimate. These
      estimates are subject to potential revisions and those revisions may be
      material.
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(JE 6, SHH’s Financial Statements, RE 44, Page ID # 1458, § 13 (emphasis added)).

Further, by August 2019—little over four months from submitting the Application

to Allied World—SHH had reached a settlement in principle with the government

regarding SHH’s improper billing practices at the core of the Qui Tam Action (which

settlement, once finalized, required SHH to pay $10 million). (JSF, RE 39, Page ID

# 1205, ¶¶ 9–10 & 18). Therefore, as demonstrated by its own financials and on-

going negotiations with the DOJ, SHH realized that the CID and DOJ Investigation

could result in material losses.

      Finally, the allegations of improper billing submissions to the government

could give rise to a future claim, suit, or action under the Policy’s D&O Coverage

Section. That Coverage Section specifically includes Regulatory Claims Coverage,

which provides coverage for regulatory investigations as well as regulatory and

judicial proceedings against an Insured for Regulatory Wrongful Acts, i.e.,

wrongdoing in the performance of Medicare billing submissions. Thus, the CID and

DOJ Investigation also fell squarely within the scope of Question No. 2.

             2.     The District Court’s Interpretation of the Application
                    Questions Was Not Reasonable

      Notwithstanding the clear language of the Application Questions, the District

Court found that SHH reasonably could read Question Nos. 1 and 2 to not require

disclosure of the CID. As to Question No. 1, the District Court found that the phrase

“proposed for any coverage for which the Applicant is applying” did not apply to
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the nearest referent, i.e., “the Applicant, any Subsidiary, any Executive or other

entity,” but rather modified the Question in its entirety. (Opinion & Order, RE 48,

Page ID # 1700–1701). The District Court found that a plain reading of Question

No. 1 would leave the “all inquiries, investigations, administrative charges,” etc.

noun string unqualified, and would require disclosure of matters unrelated to the

issuing policy, such as requiring an SHH executive to disclose a zoning citation for

an unpermitted shed on his property. (Id., Page ID # 1701). The District Court also

found that, at the time the Application was submitted, SHH had largely resolved the

improper billing claim and SHH could never obtain claims-made coverage for it

under the D&O Coverage Part. (Id.). Accordingly, the District Court adopted

SHH’s result-oriented view that SHH was required to disclose only those matters

related to the EPL coverage for which coverage might apply. (Id.).

      But this strained view of Question No. 1 does a disservice to the plain

language used and relies upon inapt hypothetical scenarios not at all similar to the

facts here. Question No. 1 is an objective question that addresses all types of matters

that have been brought against any potential insureds proposed for coverage under

the policy being negotiated. An insurance company underwriting a policy wants to

know of matters that have been brought against an individual or entity proposed for

coverage as they assess underwriting a potential future risk, and the question is not

confined to one type of coverage. See US HF Cellular Commc’ns, L.L.C. v.


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Scottsdale Ins. Co., 776 F. App’x 275, 286 (6th Cir. 2019) (finding that the “contours

of the prior litigation question’s scope make sense because they home in on the type

of information that would be relevant to an insurance company’s decision of whether

to issue a D&O policy”). This is not surprising because, as this case demonstrates,

a pre-existing dispute under one coverage section (e.g., D&O) can lead to future

claims under different coverage sections of a policy (e.g, EPL or FL). And certainly,

while an insurance company is in the business of accepting risk, especially under a

claims-made policy, an insurer is entitled to exclude from coverage claims arising

from pre-existing disputes, whether or not the insured discloses them on the

application. Allied World clearly did this through the Application Questions and the

Application Exclusion.

      The District Court’s concern involving reporting matters wholly unrelated to

the coverage being applied for, such as a private zoning citation against an SHH

executive, is a red herring. No one is contending that Question No. 1 applies to

matters wholly unrelated to an Insured’s activities in an insured capacity, and it is

difficult to conceive of how such a matter could ever lead to a claim under the Policy

being underwritten. The District Court created this purported dilemma out of whole

cloth. However, in determining whether a policy provision is ambiguous, the court

must examine it in the context of the specific facts of the case; not in the context of

a hypothetical scenario not before the court. See Thomas Noe, Inc. v. Homestead


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Ins. Co., 173 F.3d 581, 583 (6th Cir. 1999) (finding that “[i]n its application to the

facts before us, the language of [the exclusion] is simply not ambiguous -- and the

language must be applied in accordance with its terms” (emphasis added));

Longaberger Co. v. U.S. Fid. & Guar. Co., 31 F. Supp. 2d 595, 602 (S.D. Ohio 1998)

(recognizing that “[u]nder Ohio law an exclusion clause can be unambiguous when

applied to certain facts but ambiguous when applied to other facts”).

      Here, the District Court was not presented with some tangential matter

brought against an SHH executive or employee in their personal capacity (unrelated

to SHH) as the District Court hypothesized.          Instead, the District Court was

presented with a government investigation against SHH itself for wrongdoing in

connection with its core business managing and operating nursing facilities. It is

difficult to conceive a more material matter to be disclosed than a pending

governmental inquiry into alleged violations of federal law by the applicant in the

operation of the very business it seeks to insure. Under the actual facts of this case,

there is no ambiguity in Question No. 1 and the District Court erred in otherwise

creating one. See Lager, 896 N.E.2d at 669 (recognizing that “a court cannot create

an ambiguity in a contract where there is none”).

      The District Court’s interpretation of Question No. 1 also impermissibly

engrafted upon the Question a subjective component, looking to what the Applicant

subjectively believes might fall within the Policy’s EPL Coverage Section. The


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Question’s language, however, is objective, and the Court’s interpretation effectively

gives the Applicant the ability to pick and choose what to report based upon what

the Applicant thinks might be covered under the Policy. But, for purposes of the

Question, it is irrelevant whether, at the time the Application was submitted, SHH

had largely resolved the improper billing allegations and that such a pre-existing

matter would not be afforded coverage under the D&O Coverage Section. The CID

and DOJ Investigation had been on-going in the three years leading up to the

Application’s submission and was required to be disclosed.

      As to Question No. 2, the District Court determined that it did not require

disclosure of the CID because SHH did not intend to seek coverage for the DOJ

Investigation and, in any event, any request for coverage under the Policy would

have been barred given its claims-made nature. (Opinion & Order, RE 48, Page ID

# 1702). As with Question No. 1, the District Court’s interpretation is unsupported

by the express language. Question No. 2 does not ask whether the Applicant intends

to seek coverage for a potential future claim, suit, or action, or if the Applicant

believes such a future claim, suit, or action would be covered. Rather, it asks

whether the Applicant knows of “any act, error or omission which could give rise to

a claim, suit or action under any coverage part of the proposed policy.” As discussed

above, the CID clearly could and did give rise to a claim, suit, or action under the

Policy. Whether that matter would be covered is a different story, but that is not


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what the language of Question No. 2 asks. The District Court’s interpretation of

Question No. 2 was not reasonable. (Again, as expanded upon below, the inquiry

here is not whether SHH actively concealed anything, but whether the loss for which

SHH now seeks coverage falls within the description of pre-existing matters

excluded from coverage regardless of disclosure).

            3.     The Application Exclusion Precludes Coverage for the Qui
                   Tam Action

      The Application’s Claims Information section concludes with the Application

Exclusion, which provides that with respect to Question Nos. 1 through 3:

      if such inquiry(ies), investigation(s), . . . claim(s), lawsuit(s),
      information or involvement exists, then such inquiry(ies),
      investigation(s), . . . claim(s), lawsuit(s) and any inquiry, investigation,
      . . . claim or lawsuit arising therefrom or arising from such violation,
      knowledge, information or involvement is excluded from the proposed
      coverage.

(JE 5, App., RE 44, Page ID # 1416 (emphasis added)). Because the CID and DOJ

Investigation fall within the scope of the information sought in both Question Nos.

1 and 2, the Application Exclusion applies to exclude coverage for the associated

and overlapping Qui Tam Action Claim.

      Here, the Qui Tam Action, which notified the DOJ of the potential False

Claims Act violations, was filed under seal in November 2016 and precipitated the

CID and DOJ Investigation into SHH. Following the DOJ Investigation, the Qui

Tam Action was partially unsealed in August 2019, at which point SHH received

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notice of the Qui Tam Action and it became the Claim for which coverage was

sought.4 As such, the Qui Tam Action arose from the CID and DOJ Investigation.5

     Moreover, the Qui Tam Action is itself directly excluded by the Application

Exclusion as a pre-existing lawsuit filed within three years of the Application.

Specifically, the Relators filed the Qui Tam Action against SHH on November 1,



4
  The Policy provides that “[a] Claim shall be deemed first made when any Insured
first receives notice of the Claim.” (JE 7, Policy, RE 44, Page Id # 1564, § II.B).
5
  There are many cases in which courts have applied application exclusions to
preclude coverage in situations that are instructive here. See, e.g., US HF Cellular
Commc’ns, L.L.C., 776 F. App’x at 290 (finding that application exclusion, which
requested information regarding claims within the last three years, barred coverage
for lawsuit even though complaint on-file at the time the application was submitted
did not specifically name the insured company); Hale v. Travelers Cas. & Sur. Co.
of Am., No. 3-14-1987, 2015 U.S. Dist. LEXIS 149687, at *10–13 (M.D. Tenn. Nov.
4, 2015), aff’d, 661 F. App’x 345 (6th Cir. 2016) (finding that application exclusion
barred coverage for claim related to matters of which insured was aware prior to
policy’s inception and failed to disclose on application); Alterra Excess & Surplus
Ins. Co. v. Gotama Bldg. Eng’rs, Inc., No. CV 14-2969-JFW (ASx), 2014 U.S. Dist.
LEXIS 110416, at *18–20 (C.D. Cal. July 24, 2014) (finding that application
exclusion was unambiguous and barred coverage for later filed lawsuit that arose
from demand letter that insured failed to disclose on its application); Upper Deck
Co. v. Endurance Am. Specialty Ins. Co., No. 10cv1032, 2011 U.S. Dist. LEXIS
148668, at *14–17 (S.D. Cal. Dec. 15, 2011) (finding that application exclusion
would apply to insured who failed to disclose claim even though it had not been
named in lawsuit at time application was submitted); Gluck v. Exec. Risk Indem.,
Inc., 680 F. Supp. 2d 406, 419 (E.D.N.Y. 2010) (determining that “[application]
exclusion plainly eliminates coverage for claims arising from those facts, etc.
‘required to be disclosed’ that are not actually disclosed in response to the specified
questions”); Crown Capital Secs., L.P. v. Endurance Am. Specialty Ins. Co., 186
Cal. Rptr. 3d 1, 7–8 (2015) (holding that application exclusion barred coverage for
arbitrations filed after policy incepted because insured was aware of facts that may
give rise to those claims and failed to report them on its application).

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2016, within three years of the April 15, 2019 Application. The absence of coverage

arises not because SHH failed to disclose the Qui Tam Action, but because the

lawsuit “existed” at the time of the Application. (“[I]f such . . . lawsuit(s) . . . exists,

. . . then such . . . lawsuit(s) . . . is excluded from the proposed coverage.” (emphasis

added)). See Fed. R. Civ. P. 3 (“A civil action is commenced by filing a complaint

with the court.”). The Application Exclusion applies on its face to disclosed and

undisclosed matters described in Question No. 1, and the Application itself further

supports that plain reading.6 (JE 5, App., RE 39, Page ID # 1416, 1424 (stating that

“if any fact, circumstance or situation exists, whether or not disclosed in this

application, any claim or action arising from any such fact, circumstance or situation

may be excluded from coverage under the proposed policy”)).

      The case law supports Allied World’s position. See, e.g., HR Acq. I Corp. v.

Twin City Fire Ins. Co., 547 F.3d 1309, 1317–19 (11th Cir. 2008) (finding that prior

litigation exclusion barred coverage for post-policy period suit related to pre-policy

period qui tam action because the qui tam action “existed” for purposes of the

exclusion); AmerisourceBergen Corp. v. Ace Am. Ins. Co., 100 A.3d 283, 286–88


6
   To hold otherwise would mean that an Insured could manipulate coverage for a
pre-existing matter by the simple act of failing to disclose it on the Application. See,
e.g., KitBar Enters., L.L.C. v. Liberty Ins. Underwriters, Inc., 291 F. Supp. 3d 758,
765–66 (E.D. Va. 2018) (finding that plain language of application exclusion barred
coverage for pre-existing complaint, and noting that “[the insured] was seeking to
insure against a risk that had already materialized, precisely the kind of risk insurers
. . . seek to exclude from coverage”).
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(Pa. Super. Ct. 2014) (holding that prior or pending exclusion barred coverage for

quit tam action that was pending under seal and of which the insured was unaware

at the time the policy incepted).

      Relying on its misplaced reading of the Application Questions, the District

Court determined that the Application Exclusion could not apply to the Qui Tam

Action as an “existing” lawsuit because it was not responsive to either Question.

(Opinion & Order, RE 48, Page ID # 1703–1704). But that is incorrect when the

Application Exclusion is given its natural reading. As discussed above, the Qui Tam

Action is responsive to Question No. 1 as a lawsuit filed within the three years

preceding the Application. Under the District Court’s interpretation, the Application

Exclusion would only apply if the Applicant unilaterally chose to disclose a matter

in response to Question Nos. 1 or 2. That is not a reasonable interpretation of the

Application Questions or Exclusion and, as such, the District Court’s finding in favor

of SHH on the issue of coverage was error and should be reversed.

II.   The District Court’s Erroneous Award of SHH’s Coverage Action Fees

      A.     Standard of Review

      The District Court’s decision to award SHH the fees it incurred in prosecuting

this coverage action against Allied World involves an issue of state law and is

reviewed de novo. See Hometown Folks, L.L.C. v. S & B Wilson, Inc., 643 F.3d 520,

533 (6th Cir. 2011) (“In diversity cases, attorneys’ fees are governed by state law.”);


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Lawler v. Fireman’s Fund Ins. Co., 322 F.3d 900, 903 (6th Cir. 2003) (recognizing

that “the district court’s determination of state law presents a purely legal question,

which we review de novo”); First Bank v. Hartford Underwriters Ins. Co., 307 F.3d

501, 528 (6th Cir. 2002) (same). The District Court erred in its determination

because the case law it relied upon involves the duty to defend, which the Policy

does not require of Allied World, or distinguishable indemnitee agreements, which

are not at issue here. (Opinion & Order, RE 54, Page ID # 1796–1799). This Court

therefore should reverse the District Court’s fee award.

      B.     Ohio Law Does Not Permit a Fee Award to SHH

      “Ohio follows the ‘American rule’ with respect to attorney fee awards.”

Guernsey Bank v. Milano Sports Enters., L.L.C., 2011-Ohio-2162, ¶ 68 (Ohio Ct.

App. 2011) (“Under this rule, each party involved in litigation pays his or her own

attorney fees in most circumstances.”). While Ohio has recognized a limited

exception for when an insurer breaches its duty to defend, that exception is

inapplicable here. Under the Policy, “[i]t shall be the obligation of the Insured(s)

to defend and contest any Claim made against them.” (JE 7, Policy, RE 44, Page

ID # 1512). Allied World does not have a duty to defend; rather it owes a duty to

reimburse Defense Costs. “At the request of the Named Insured, the Insurer shall

reimburse Defense Costs prior to the final disposition of any Claim, subject to all

other terms and conditions of this Policy.” (Id., Page ID # 1513).

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      One of the leading cases on this point is Motorists Mut. Ins. Co. v. Trainor,

294 N.E.2d 874, 876 (Ohio 1973), which involved a duty to defend policy requiring

that “the [insurer] shall defend any suit against the insured alleging such bodily

injury.” There, the Supreme Court of Ohio found that where an insurer wrongfully

refuses to defend its insured, the insured is entitled to recover its fees incurred in

defending against both the underlying action as well as the insurer’s coverage action.

See id. at 878. Similarly, in Allen v. Standard Oil Co., 443 N.E.2d 497, 500 (Ohio

1982), the Supreme Court of Ohio addressed an indemnity agreement that required

the indemnitor to “indemnify, save harmless, and defend” the indemnitee, and found

that the indemnitor’s failure to defend made it liable for the fees incurred by the

indemnitee in vindicating its rights.

      In Pasco v. State Auto. Mut. Ins. Co., 2005-Ohio-2387, ¶¶ 14–15 (Ohio Ct.

App. 2005), the court recognized that Trainor and Allen are limited in context to “a

party who was contractually obligated to defend another party,” and that those cases

do not extend to a breach of a duty to indemnify an insured. Instead, under Ohio

law, when the duty to indemnify or payment of a claim is at issue, an insured is not

entitled to recover attorneys’ fees when it is successful in establishing coverage. See,

e.g., B-T Dissolution, Inc. v. Provident Life & Accident Ins. Co., 192 F. App’x 444,

445–47 (6th Cir. 2006). Under the Allied World Policy, the Insured has the duty to

defend itself and its entitlement to the payment of covered defense costs is a matter


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of indemnity. Therefore, Trainor and its progeny are inapplicable and do not entitle

SHH to an award of its coverage action fees. See Excellence in Motivation v.

Navigators Ins. Co., No. 3:10-cv-420, 2011 U.S. Dist. LEXIS 172415, at *19 (S.D.

Ohio Oct. 17, 2011) (addressing policy that required insurer to advance defense costs

and finding that it was distinguishable from the policy addressed in Trainor).

      While acknowledging the limitations of the Trainor and Allen cases, the

District Court found that other more recent decisions in the indemnity context were

applicable and mandated an award of attorneys’ fees. First, the District Court cited

to Worth v. Aetna Cas. & Sur. Co., 513 N.E.2d 253 (Ohio 1987), in which the

Supreme Court of Ohio addressed an indemnity agreement and not a duty to defend.

But the indemnity agreement at issue in Worth authorized the executives (the

indemnitees) of a company to retain legal counsel and to be held harmless and made

whole for costs incurred if the employer (the indemnitor) failed to honor its

contractual commitments, necessitating legal action by the executives. See id. at

256–57 (“We can see no reason why an indemnity agreement which expressly allows

for the recovery of attorney fees should be treated any differently from the indemnity

agreement in Allen which did not expressly allow for the recovery of such expenses,

but which was, nevertheless, held to allow for such recovery.”).             Thus, the

contractual language of the indemnity agreement itself called for the awarding of

fees. See Scott Fetzer Co. v. Zurich Am. Ins. Co., No. 1:16 CV 1570, 2021 U.S. Dist.


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LEXIS 55961, at *18 (N.D. Ohio Mar. 24, 2021) (“Unlike the situation in Worth,

the insurance contract at issue here does not have any provision that expressly

requires the reimbursement of legal expenses, thus Worth is not relevant.”).

      The District Court’s reliance on Bank One, N.A. v. Echo Acceptance Corp.,

380 F. App’x 513 (6th Cir. 2010), in further support of its position that a duty to

defend is not necessary in the indemnity context, also was misplaced. There too,

like in Worth, this Court addressed agreements that contained fee-shifting

provisions, which contractually entitled the plaintiff to recover its attorneys’ fees if

it had to enforce its indemnity rights. See id. at 525–26. Not surprisingly, the lack

of a duty to defend in that context was not fatal to the fee claim.

      Finally, there is a reason that Ohio law affords special protection—in the form

of fee shifting—for an insured that establishes that its insurer, unlike here, breached

an actual duty to defend. The undertaking to provide a defense to the insured is a

special undertaking to provide a critical service when an insured is sued in addition

to the undertaking to pay covered losses (i.e., settlements and judgments) for which

the insured becomes liable. As one court has explained:

      [T]he insured would reasonably expect a defense by the insurer in all
      personal injury actions against him. If he is to be required to finance
      his own defense and then, only if successful, hold the insurer to its
      promise by means of a second suit for reimbursement, we defeat the
      basic reason for the purchase of the insurance. In purchasing his
      insurance the insured would reasonably expect that he would stand a
      better chance of vindication if supported by the resources and expertise
      of his insurer than if compelled to handle and finance the presentation
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      of his case. He would, moreover, expect to be able to avoid the time,
      uncertainty and capital outlay in finding and retaining an attorney of his
      own. The courts will not sanction a construction of the insurer's
      language that will defeat the very purpose or object of the insurance.

Gray v. Zurich Ins. Co., 419 P.2d 168, 178 (Cal. 1966). Ohio courts also have

recognized that an insurer’s duty to defend is a valuable right and of great importance

to the insured. See Erie Ins. Exch. v. Colony Dev. Corp., 736 N.E.2d 941, 946 (Ohio

Ct. App. 1999); Sanderson v. Ohio Edison Co., 635 N.E.2d 19, 23 (Ohio 1994). Due

to the special benefits a duty to defend provides, when a breach of that duty occurs,

courts have permitted fee shifting. See Motorists Mut. Ins. Co., 294 N.E.2d at 878

(recognizing that insureds had “the right to a prompt and diligent defense under

th[eir] contract,” and should be placed in a position as good as if the insurer had

performed its duty to defend). That same rationale (and rule) is inapplicable when,

as here, the policy does not include a duty to defend.

      Accordingly, the District Court erred when it awarded SHH its coverage

action fees below.

                     CONCLUSION AND RELIEF SOUGHT

      For the foregoing reasons, the Court should reverse the District Court’s

summary judgment ruling finding coverage in favor of SHH. Alternatively, to the

extent the Court affirms the District Court’s summary judgment coverage ruling, the

Court nevertheless should reverse the District Court’s damages determination

awarding SHH its coverage action fees.

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                       CERTIFICATE OF COMPLIANCE

         I hereby certify that the foregoing brief complies with the type-volume

limitation provided in Federal Rule of Appellate Procedure 32(a)(7)(B)(i). The

foregoing brief contains 10,614 words of Time New Roman (14 pt) proportional

type. Microsoft Word is the word-processing software that was used to prepare the

brief.


                                                     /s/ Charles W. Chotvacs
                                                    Charles W. Chotvacs




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                          CERTIFICATE OF SERVICE

      I hereby certify that on the 21st day of September, 2022, the foregoing

Principal Brief of Defendant-Appellant Allied World Specialty Insurance Company

was electronically filed with the Clerk of the Court for the United States Court of

Appeals for the Sixth Circuit using the Court’s CM/ECF filing system.          All

participants in the case are registered CM/ECF users and service upon the following

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                                  ADDENDUM

   DESIGNATION OF RELEVANT DISTRICT COURT DOCUMENTS

      Pursuant to Sixth Circuit Rules 28(b)(1)(A)(i) and 30(g)(1), Defendant-

Appellant Allied World Specialty Insurance Company designates the following

documents from the District Court’s docket as relevant to this appeal:

 Record            Document Description              Date Filed          Page ID #
 Entry
   1    SHH’s Complaint for Breach of Contract,       12/16/19           1–8
        Declaratory Judgment, and Bad Faith
   8    Allied World’s Answer to Complaint            2/24/20            23–38
   20   Allied World’s Motion for Summary             8/24/20            102–104
        Judgment
   21   SHH’s Motion for Partial Summary              8/24/20            496–497
        Judgment
   39   Parties’ Joint Stipulation of Facts           10/15/20           1203–1206
   44   Parties’ Joint Exhibits (“JE”)                10/21/20           1225–1669
   44   Qui Tam Complaint (JE 1)                      10/21/20           1229–1333
   44   Civil Investigative Demand (“CID”) (JE 2)     10/21/20           1335–1361
   44   SHH’s Discovery Responses (JE 3)              10/21/20           1363–1389
   44   SHH’s Responses to CID (JE 4)                 10/21/20           1391–1412
   44   Insurance Application (JE 5)                  10/21/20           1414–1428
   44   SHH’s Financial Statements (JE 6)             10/21/20           1430–1488
   44   Allied World Policy (JE 7)                    10/21/20           1490–1586
   44   Oct. 10, 2019 Coverage Letter (JE 9)          10/21/20           1591–1600
   44   Nov. 13, 2019 Coverage Letter (JE 12)         10/21/20           1617–1620
   46   Summary Judgment Opinion & Order              11/2/20            1671–1685
   48   Amended Summary Judgment Opinion              12/16/20           1691–1705
        & Order
   49   Notice of Outstanding Issues and Request for  1/29/21            1706–1709
        Briefing and Hearing
   50   SHH’s Damages Brief                            3/1/21            1710–1720
   51   Allied World’s Damages Response Brief         3/22/21            1721–1772
   52   SHH’s Damages Reply Brief                     3/29/21            1773–1783
   54   Opinion & Order Awarding Damages              9/28/21            1792–1801

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Record           Document Description           Date Filed Page ID #
Entry
  56   Opinion & Order Awarding Attorneys’ Fees  10/8/21   1945
  57   Notice of Appeal                          3/25/22   1946–1948




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